Case 5:05-cr-00013-FPS-JES Document 293 Filed 11/14/08 Page 1 of 5 PageID #: 1492



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  RENEE DUFFIELD,

               Petitioner,

  v.                                             Civil Action No. 5:06CV100
                                          (Criminal Action No. 5:05CR13-07)
  UNITED STATES OF AMERICA,                                         (STAMP)

               Respondent.


                          MEMORANDUM OPINION AND ORDER
                       AFFIRMING AND ADOPTING REPORT AND
                      RECOMMENDATION OF MAGISTRATE JUDGE

                             I.    Procedural History

        Pro se1 petitioner Renee Duffield filed a motion under 28

  U.S.C. § 2255 to vacate, set aside or correct a sentence by a

  person in federal custody.         The government filed a response to the

  petition to which the petitioner did not reply.

        The matter was referred to United States Magistrate Judge

  James E. Seibert for initial review and report and recommendation

  pursuant to Local Rule of Prisoner Litigation Procedure 83.15.

  Magistrate      Judge   Seibert    issued     a   report   and   recommendation

  recommending that the petitioner’s § 2255 application be denied

  because    in     her   plea     agreement,       the   petitioner   knowingly,

  intelligently, and voluntarily waived the right to collaterally

  attack the conviction.          The magistrate judge informed the parties

  that if they objected to any portion of the report, they must file



        1
        “Pro se” describes a person who represents himself in a court
  proceeding without the assistance of a lawyer.         Black’s Law
  Dictionary 1237 (7th ed. 1999).
Case 5:05-cr-00013-FPS-JES Document 293 Filed 11/14/08 Page 2 of 5 PageID #: 1493



  written objections within ten days after being served with copies

  of the report.       The time for objections has now passed, and no

  objections have been filed to date.

                                        II.   Facts

           On August 18, 2005, the petitioner plead guilty in the

  Northern      District    of    West    Virginia         to   aiding   and   abetting

  interstate transportation in aid of racketeering, in violation of

  18 U.S.C. § 1952(a)(3) and 18 U.S.C. § 2.                 On December 2, 2005, the

  petitioner was sentenced to 60 months imprisonment.

           After her sentencing, the petitioner filed a motion to vacate,

  set aside or correct a sentence by a person in federal custody

  pursuant to 28 U.S.C. § 2255, claiming ineffective assistance of

  counsel.

                                 III.    Applicable Law

           Pursuant to 28 U.S.C. § 636(b)(1)(C), this Court must conduct

  a   de    novo   review   of    any    portion      of    the   magistrate    judge’s

  recommendation to which objection is timely made.                       As to those

  portions of a recommendation to which no objection is made, a

  magistrate judge’s findings and recommendation will be upheld

  unless they are “clearly erroneous.”             See Webb v. Califano, 468 F.

  Supp. 825 (E.D. Cal. 1979).            Because the parties did not file any

  objections, this Court reviews the report and recommendation for

  clear error.




                                              2
Case 5:05-cr-00013-FPS-JES Document 293 Filed 11/14/08 Page 3 of 5 PageID #: 1494



                                         IV.   Discussion

        The petitioner contends in her § 2255 petition that she

  received ineffective assistance of counsel because her counsel

  allegedly    failed         to   properly      investigate        the   evidence     before

  advising    the   petitioner            to   accept    the    plea      agreement.      The

  petitioner asserts that because she relied on her counsel’s advice,

  she did not enter the plea agreement voluntarily or intelligently.

  Additionally, the petitioner contends that the government withheld

  Brady material.

        Based on a review of the record and the applicable law,

  Magistrate Judge Seibert recommended that the petitioner’s § 2255

  application       be        denied      because       the     petitioner      knowingly,

  intelligently, and voluntarily waived the right to collaterally

  attack her conviction when she plead guilty to Count Twelve of an

  indictment    charging           her    with   aiding       and   abetting    interstate

  transportation         in    aid       of    racketeering.           Specifically,      the

  petitioner signed a plea agreement on August 15, 2005, which stated

  that she “waives her right to challenge her sentence or the manner

  in which it was determined in any collateral attack, including but

  not limited to, a motion brought under Title 28, United States

  Code, Section 2255 (habeas corpus).”2

        Because     the        petitioner         knowingly,        intelligently,        and

  voluntarily waived the right to collaterally attack her conviction,



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        The plea agreement was accepted and filed by this Court on
  August 18, 2005.

                                                 3
Case 5:05-cr-00013-FPS-JES Document 293 Filed 11/14/08 Page 4 of 5 PageID #: 1495



  the petitioner’s application for habeas corpus pursuant to § 2255

  must be denied.

                                V.   Conclusion

        Because the parties have not objected to the report and

  recommendation of the magistrate judge, and because this Court

  finds that the magistrate judge’s recommendation is not clearly

  erroneous, the ruling of the magistrate judge is hereby AFFIRMED

  and ADOPTED in its entirety.       Accordingly, the petitioner’s motion

  to vacate, set aside or correct her sentence pursuant to 28 U.S.C.

  § 2255 is DENIED.     It is further ORDERED that this civil action be

  DISMISSED and STRICKEN from the active docket of this Court.

        Finally, this Court finds that the petitioner was properly

  advised by the magistrate judge that failure to timely object to

  the report and recommendation in this action will result in a

  waiver of appellate rights.        Because the petitioner has failed to

  object, she has waived her right to seek appellate review of this

  matter.    See Wright v. Collins, 766 F.2d 841, 844-45 (4th Cir.

  1985).

        IT IS SO ORDERED.

        The Clerk is directed to transmit a copy of this order to the

  pro se petitioner by certified mail and to counsel of record

  herein.




                                        4
Case 5:05-cr-00013-FPS-JES Document 293 Filed 11/14/08 Page 5 of 5 PageID #: 1496



        DATED:     November 14, 2008



                                     /s/ Frederick P. Stamp, Jr.
                                     FREDERICK P. STAMP, JR.
                                     UNITED STATES DISTRICT JUDGE




                                       5
